        Case 1:21-cv-06704-PKC                Document 16      Filed 08/17/21   Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
PREBLE-RISH HAITI, S.A.

                                 Plaintiff,                         21-cv-6704 (PKC)

                -against-                                              ORDER


REPUBLIC OF HAITI and BUREAU DE
MONÉTISATION DE PROGRAMMES D’AIDE
AU DÉVELOPPMENT,

                                  Defendants.
-----------------------------------------------------------x

CASTEL, U.S.D.J.

                The motion to vacate the attachment in 21-cv-4960 will be decided before the

motion to confirm the arbitration award. Non-party BRH will not be deemed to have waived

intervention on the motion to confirm provided it reasserts its position within 14 days of a

decision on the motion to vacate the attachment.



                SO ORDERED.




Dated: New York, New York
       August 17, 2021
